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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

                                                            )
  ABERDEEN CANADA FUNDS – GLOBAL                            )
  EQUITY FUND, a series of ABERDEEN                         )
  CANADA FUNDS, et al.,                                     )   Civil Action No. 2:19-CV-06560-MCA-
                                                            )   LDW
                           Plaintiffs,                      )
                                                            )   STIPULATION AND [PROPOSED]
                    v.                                      )   DISCOVERY CONFIDENTIALITY
                                                            )   ORDER
  PERRIGO COMPANY PLC, JOSEPH C.                            )
  PAPA, and JUDY L. BROWN,                                  )
                                                            )
                           Defendants.                      )
                                                            )

           It appearing that discovery in the above-captioned action (the “Action”) is likely to

  involve the disclosure of confidential information, the Parties having agreed to the following

  terms pursuant to Local Civil Rule 5.3(b), and having due regard to the submission by the

  Parties regarding the need for protection of confidential information, it is ORDERED as follows:

      I.         Information That May Be Designated Confidential

            1.      Any Party1 to this litigation and any non-party, as described in Paragraph 5, shall

  have the right to designate as “Confidential,” and subject to this Discovery Confidentiality Order

  (the “Order”), any “Information,” including, but not limited to any document, electronic or

  computerized data compilation, deposition testimony or exhibit, interrogatory response,

  response to requests for admission, or any other materials, or portion of such Information that

  the party reasonably and in good faith believes contains:




  1
   The term “Party” or “Parties” as used herein includes Plaintiffs in the Action and Defendants Perrigo Company
  plc, Joseph C. Papa and Judy L. Brown.

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                 a. any non-public trade secrets or other confidential research, competitively

                     sensitive technical, marketing, financial, sales, or other confidential business

                     information;

                 b. sensitive, non-public Information concerning individuals or entities,

                     including but not limited to social security numbers, home telephone

                     numbers and addresses, tax returns, and medical, credit or banking

                     information;

                 c. Information received in confidence from non-parties;

                 d. Information otherwise entitled to protection under Rule 26(c)(1)(G) of the

                     Federal Rules of Civil Procedure or Local Civil Rule 5.3;

                 e. To the extent that production is permitted in accordance with the European

                     General    Data    Protection       Regulation   (2016/679)   (“GDPR”),     any

                     documentation containing “personal data” (as defined in Article 4(1) of the

                     GDPR); or

                 f. any materials for arbitral proceedings that are confidential pursuant to the

                     rules of the arbitral forum or by the agreement that led to the submission of

                     the dispute to the arbitral forum.

  Such designated Information is hereinafter “Confidential Information.”

           2.    Any copies or reproductions, excerpts, summaries, or other documents or media

  (e.g., electronic, video, or audio) that excerpt, contain, or otherwise reveal the substance of

  (other than in general terms) Confidential Information shall also be Confidential Information

  pursuant to this Order.

           3.    Information that has previously been disclosed or is otherwise available through

  alternative public means, information that is in the public domain (which is already known by

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  the receiving party through proper means), or information which is or becomes available to a

  party through proper means from a source other than the party asserting confidentiality and who

  rightfully is in possession of such information on a non-confidential basis shall not be deemed or

  considered to be Confidential Information under this Order.

     II.         Designation of Discovery Materials as Confidential

            4.      Information may be designated as Confidential by any Party or by any non-party

  that has produced such Confidential Information within the meaning of this Order. A Party can

  designate Information as Confidential that has been produced by any Party or by any non-party.

            5.      A non-party from whom Information is sought by the Parties may designate

  Information as Confidential consistent with the terms of this Order. Under such circumstances,

  Information designated Confidential by such non-party is assigned the same protections as

  Information designated Confidential by a Party and all duties applicable to a Party shall apply to

  such non-party designating Information as Confidential. All obligations applicable to a Party

  receiving such Confidential Information from another Party shall apply to any Party receiving

  such Confidential Information from a non-party.

            6.      Any party to this litigation or any non-party covered by this Order who produces

  or discloses any Confidential Information shall mark the same with the foregoing or similar

  legend:        “CONFIDENTIAL”        or   “CONFIDENTIAL—SUBJECT              TO    DISCOVERY

  CONFIDENTIALITY ORDER.” The Parties shall determine how such designation be made for

  electronically stored information.

            7.      Any party to this litigation, and any non-party covered by this Order who

  produces or discloses any Confidential Information, shall have the right to designate as

  “Attorneys’ Eyes Only” and subject to this Order any Information that contains highly sensitive

  business or personal information, the disclosure of which is highly likely to cause significant

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  harm to an individual or to the business or competitive position of the designating party. Any

  party to this litigation, and any non-party covered by this Order, who produces or discloses any

  Attorneys’ Eyes Only Information, shall mark the same with the foregoing or similar legend:

  “ATTORNEYS’ EYES ONLY” or “ATTORNEYS’ EYES ONLY – SUBJECT TO

  DISCOVERY            CONFIDENTIALITY          ORDER”      (hereinafter   “Attorneys’   Eyes    Only

  Information”). The Parties shall determine how such designation be made for electronically

  stored information.

            8.       This Order does not govern the use of Confidential Information or Attorneys’

  Eyes Only Information at trial. Prior to trial, the parties shall meet and confer on the use of

  Confidential Information and Attorneys’ Eyes Only Information at trial, and shall address

  procedures governing such use in the proposed pre-trial order.

     III.         Permissible Uses of Confidential Information

            9.       All Confidential Information shall be used by the receiving party solely for

  purposes of the prosecution or defense of this Action, shall not be used by the receiving party for

  any business, commercial, competitive, personal, or other purpose, and shall not be disclosed by

  the receiving party to anyone other than those set forth in Paragraph 10, unless and until the

  restrictions herein are removed either by written agreement of counsel for the Parties, or by

  order of the Court.

            10.      Confidential Information shall be disclosed only to the following individuals

  under the following conditions:

                     a. Attorneys of record in this litigation, outside counsel (herein defined as any

                        attorney at the Parties’ outside law firms), relevant in-house counsel for the

                        Parties, and regular employees of such attorneys, including secretarial staff,




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                paralegals, duplicating and data processing personnel, to whom it is

                necessary that Information be shown for purposes of this action;

             b. Outside experts or consultants retained by a Party or a Party’s counsel in

                connection with the Action (herein “Qualified Persons”), provided such

                Qualified Persons have signed a non-disclosure agreement in the form

                attached hereto as Exhibit A;

             c. The Court and any appellate court and court personnel;

             d. Mediators and arbitrators and their staff, as engaged by the Parties or

                appointed by the Court;

             e. Deponents in the Action and potential witnesses (whose depositions have

                been noticed and who signed the form attached hereto as Exhibit A),

                provided that such persons are not allowed to retain any documents or other

                material containing Confidential Information;

             f. Litigation support and electronic discovery vendors, copy services, data

                entry, and computer support services retained by or for the Parties to assist

                in preparing for pretrial discovery, trial, and/or hearings including, but not

                limited to: court reporters, litigation support personnel, jury consultants,

                individuals to prepare demonstrative and audiovisual aids for use in the

                courtroom or in depositions or mock jury sessions as well as their staff, and

                stenographic and clerical employees whose duties and responsibilities

                require access to Confidential Information; and

             g. The Parties, including in the case of Parties that are corporations or other

                business entities, the executives or individuals who participate in decisions

                with reference to this lawsuit, and any insurance carriers, or their

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                     representatives, whose insurance coverage is implicated by or who are

                     paying defense costs associated with this litigation.

         11.     Confidential Information shall be used only by individuals permitted access to it

  under Paragraph 10. Confidential Information shall not be disclosed in any manner to any other

  individual, until and unless (a) counsel for the Party or non-party asserting confidentiality

  waives the claim of confidentiality; or (b) the Court orders such disclosure.

         12.     Material produced and marked as Attorneys’ Eyes Only may be disclosed only to

  outside counsel for the receiving Party and in-house counsel for the receiving Party who agrees

  not to share Attorneys’ Eyes Only Information with other Party representatives, unless provided

  permission by the producing Party or the Court; to the persons described in Paragraphs 10(b),

  (c), (d), (e), and (f), other than the potential witnesses described in (e); and to such other persons

  as counsel for the producing party agrees in advance or as Ordered by the Court.

         13.     With respect to any deposition that involves a disclosure of Confidential

  Information or Attorneys’ Eyes Only Information, such Party shall have until thirty (30) days

  after receipt of the deposition transcript to inform all other Parties that portions of the transcript

  are to be designated Confidential or Attorneys’ Eyes Only, this period may be extended by

  agreement of the Parties. No such deposition transcript shall be disclosed to any individual other

  than the individuals described in Paragraph 10 above and the deponent during these thirty (30)

  days, and no individual attending such a deposition shall disclose the contents of the deposition

  to any individual other than those described in Paragraph 10 above during said thirty (30) days.

  Upon being informed that certain portions of a deposition are to be designated as Confidential or

  Attorneys’ Eyes Only all Parties shall immediately cause each copy of the transcript in its

  custody or control to be appropriately marked and limit disclosure of that transcript in

  accordance with Paragraphs 9 through 12.

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           14.      To the extent that any Party is not permitted (whether by contract, rules of an

  arbitral forum, agreement that led to the submission of a dispute to an arbitral forum, or

  otherwise) to produce confidential Information sought by another Party in discovery in the

  Action without a court order or other legal requirement to produce the Information in question,

  this Order shall constitute the requisite court order or other legal requirement mandating the

  production of that Information; provided, however, that the producing Party shall mark any such

  Information as “Confidential” or “Attorneys’ Eyes Only,” as applicable, in accordance with the

  terms of this Order; and provided further that the producing Party shall only produce such

  Information to the extent that such production is required by the Federal Rules of Civil

  Procedure.

           15.      Nothing in this Order shall prevent a producing person from using Confidential

  Information or Attorneys’ Eyes Only Information that the producing person produced in any

  way the producing party so chooses.

     IV.         Challenges to Confidential or Attorneys’ Eyes Only Designations

           16.      In the event that counsel for a Party deems it necessary to disclose any

  Confidential Information or Attorneys’ Eyes Only Information to any person not contemplated

  in Paragraph 10, counsel shall make a request to counsel for the producing Party or non-party in

  writing or on the record in a deposition or proceeding before the Court, and shall attempt to

  reach agreement regarding such disclosure. If agreement cannot be reached, the Party seeking to

  make the disclosure of the Confidential Information or Attorneys’ Eyes Only Information may

  apply to the Court pursuant to Local Civil Rule 37.1 concerning whether such disclosure may be

  made and whether any restrictions or limitations should be placed on such disclosure. No

  disclosure shall be made until such application is decided in favor of the applicant.




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         17.    If a Party objects to the designation of a document as Confidential or Attorneys’

  Eyes Only under this Order, the following procedure shall apply:

                a. Counsel for the objecting party shall serve on the designating Party or

                    designating non-party a written objection to such designation, which shall

                    describe with particularity the documents or information in question and

                    shall state the grounds for objection. Counsel for the designating Party or

                    non-party shall respond in writing to such objection within 14 days, and

                    shall state with particularity the grounds for asserting that the Information is

                    Confidential or Attorneys’ Eyes Only. If no timely written response is made

                    to the objection, the challenged designation will be deemed to be void. If the

                    designating Party or non-party makes a timely response to such objection

                    asserting the propriety of the designation, counsel shall then confer in good

                    faith in an effort to resolve the dispute.

                b. If a dispute as to designation of Confidential Information or Attorneys’ Eyes

                    Only Information cannot be resolved by agreement, the proponent of the

                    challenged designation shall present the dispute to the Court initially by

                    telephone or letter, in accordance with Local Civil Rule 37.1(a)(1), before

                    filing a formal motion for an order regarding the challenged designation.

                    The Confidential Information or Attorneys’ Eyes Only Information that is

                    the subject of the filing shall be treated as originally designated pending

                    resolution of the dispute. The burden of proving that the Confidential

                    Information or Attorneys’ Eyes Only Information is entitled to such

                    designation shall be on the designating Party or non-party.




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          18.      All requests to seal documents filed with the Court shall comply with Local Civil

  Rule 5.3. The parties will use their best efforts to minimize such sealing.

          19.      To the extent consistent with applicable law, the inadvertent or unintentional

  disclosure of Confidential Information or Attorneys’ Eyes Only Information that should have

  been designated as such, regardless of whether the Information was so designated at the time of

  disclosure, shall not be deemed a waiver in whole or in part of a party’s claim to confidentiality,

  either as to the specific Information disclosed or as to any other Information concerning the

  same or related subject matter. Such inadvertent or unintentional disclosure may be rectified by

  a written notification provided within a reasonable time after disclosure to counsel for all Parties

  and non-parties to whom the material was disclosed. Such notice shall constitute a designation

  of the Information as Confidential or Attorneys’ Eyes Only under this Order.

          20.      When the inadvertent or mistaken disclosure of Information protected by any

  privilege or work-product immunity is discovered by the producing party and brought to the

  attention of the receiving party, the receiving party’s treatment of such material shall be in

  accordance with Federal Rule of Civil Procedure 26(b)(5)(B) and Federal Rule of Evidence

  502(b), as appropriate. Such inadvertent or mistaken disclosure of such Information shall not by

  itself constitute a waiver by the producing party of any claims of privilege or work-product

  immunity. However, nothing herein restricts the right of the receiving party to challenge the

  producing person’s claim of privilege if appropriate after receiving notice of the inadvertent or

  mistaken disclosure. The disclosing Party or non-party shall retain the burden of establishing the

  privileged or protected nature of any inadvertently disclosed Information.

     V.         Miscellaneous




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         21.     This Order shall not deprive any Party of its right to object to discovery by any

  other Party or on any otherwise permitted ground. This Order is being entered without prejudice

  to the right of any Party to move the Court for modification or for relief from any of its terms.

         22.     This Order shall survive the termination of this action, and shall remain in full

  force and effect unless modified by an Order of this Court or by the written stipulation of the

  Parties filed with the Court.

         23.     Discovery in this Action is being coordinated with discovery in the Roofer’s

  Pension Fund v. Papa, et al., Civ. No. 16-CV-2805 (the “Class Action”), which has its own

  Confidentiality Order in a form substantially similar to this Order. To the extent Information is

  designated as Confidential or Attorneys’ Eyes Only under the Confidentiality Order in the Class

  Action or the Action, that designation will apply equally to the Class Action and the Action.

         24.     Information produced by the Plaintiffs in the Action or any third-party related to

  the Plaintiffs in the Action may be disclosed only to Defendants and may not be shared with,

  and is restricted from disclosure to, any non-party regardless of confidentiality designation,

  unless consent is explicitly obtained from (1) the Plaintiff(s) that have produced such

  information; or (2) if the producing party is a non-party to the litigation, any Plaintiff(s) to which

  such information relates.

         25.     If the Class Action is resolved prior to resolution of the Action, the Confidential

  or Attorneys’ Eyes Only designations shall continue to have effect despite the resolution of the

  action in which the designation was made.

         26.     Within sixty (60) days of the conclusion of this litigation, each Party and

  non-party subject to the terms hereof shall be under an obligation to assemble and return to the

  originating source or destroy all Confidential Information, should such source so request. Any

  material which constitutes attorney work product, including excerpts, summaries, and digests

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  containing Confidential Information need not be returned and need only be destroyed upon a

  request by the source of such Confidential Information. Counsel may retain complete copies of

  all transcripts and pleadings including any exhibits attached thereto for archival purposes,

  subject to the provisions of this Order. To the extent a Party or non-party requests the return of

  Confidential Information from the Court after the conclusion of the litigation, including the

  exhaustion of all appeals therefrom and all related proceedings, that Party or non-party shall file

  a motion seeking such relief.


Date: April 25, 2019                                    Date: April 25, 2019

By: /s/ Joseph T. Kelleher                              By: /s/ Alan S. Naar

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                                            Counsel for Defendant Joseph C. Papa

                                            Date: April 25, 2019

                                            By:/s/ John L. Hardiman

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                                            Counsel for Defendant Judy L. Brown


          IT IS SO ORDERED.

  Dated: ______________________
                                        ___________________________________
                                        Hon. Leda Dunn Wettre, U.S.M.J.




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                                            EXHIBIT A

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                      )
  ABERDEEN CANADA FUNDS – GLOBAL                      )
  EQUITY FUND, a series of ABERDEEN                   )
  CANADA FUNDS, et al.,                               )   Civil Action No. 2:19-CV-06560-MCA-
                                                      )   LDW
                        Plaintiffs,                   )
                                                      )   AGREEMENT TO BE BOUND BY
                 v.                                   )   DISCOVERY CONFIDENTIALITY
                                                      )   ORDER
  PERRIGO COMPANY PLC, JOSEPH C.                      )
  PAPA, and JUDY L. BROWN,                            )
                                                      )
                        Defendants.                   )
                                                      )


  I, ________________________________________ (print or type name), being duly sworn, state

  that:

          1.     My address is ____________________________________________.

          2.     My present employer is _____________________________________, and the

  address of my present employment is ____________________________________________.

          3.     My present occupation or job description is _____________________________.

          4.     I have carefully read and understood the provisions of the Discovery

  Confidentiality Order annexed hereto and so Order by the Court, and I agree to be fully bound

  by all provisions of the Discovery Confidentiality Order.

          5.     I will hold in confidence and not disclose to anyone not qualified under the

  Discovery Confidentiality Order any Confidential Information or any Attorneys’ Eyes Only

  Information disclosed to me.




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          6.     I will limit use of Confidential Information disclosed to me solely for purpose of

  this action.

          7.     No later than the conclusion of the case, I will return all Confidential Information

  that has come into my possession, and documents or things that I have prepared relating thereto,

  to counsel for the Party for whom I was employed or retained.

          8.     I hereby submit to the jurisdiction of the United States District Court for the

  District of New Jersey for purposes of enforcing the Discovery Confidentiality Order.


  I declare under penalty of perjury that the foregoing is true and correct.


  Dated: ______________________
                                                    ___________________________________
                                                                   [Name]



  Sworn to before me this
  ____ day of ____________ 2019


                 Notary Public




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                                                                                              18542731
